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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,                                  Case No. 1:09:CR-20536
                                                   HON. THOMAS L. LUDINGTON
v.

KENYA CRAYTON,

       Defendant.
                                            /

                    ORDER DENYING MOTION TO EXTEND TIME FOR
                    DEFENDANT TO REPORT TO BUREAU OF PRISONS

       In November 2009, a grand jury in the Eastern District of Michigan returned a forty-nine-

count indictment against fifteen defendants accused of conspiring to distribute cocaine and

cocaine base near Bay City, Michigan, in violation of 21 U.S.C. §§ 841(a)(1) and 846. When the

grand jury issued a second superseding indictment on August 5, 2010, the alleged conspiracy

grew to include twenty-five defendants and fifty-eight criminal charges. ECF No. 182.

       One of these defendants is Kenya Crayton. On January 23, 2012, Ms. Crayton entered a

guilty plea to count 56 of the second superseding indictment, distribution of cocaine base in

violation of 21 U.S.C. § 841(a)(1). Her release on bond was continued pending sentencing,

which was originally scheduled for May 17, 2012. ECF No. 514. By stipulation of the parties,

sentencing was extended three times:     first to July 31, then to August 29, and finally to

September 20. ECF Nos. 632, 646, 654.

       On September 20, 2012, Ms. Crayton was sentenced to 37 months of imprisonment. ECF

No. 657. The following month, an order was entered extending the time for Ms. Crayton to

report to the bureau of prisons to begin serving her sentence. ECF No. 662. Because of Ms.
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Crayton undergoing surgery to repair an abdominal hernia, her time for reporting to commence

serving her sentence was extended to January 2, 2013.

       On December 19, 2012, Ms. Crayton filed a motion for an additional extension of time to

report to the bureau of prisons to begin serving her sentence. ECF No. 666. Writing that she is

currently under the care of a physician for a heart condition, is wearing a heart monitor, and has

an appointment with a heart specialist on January 29, 2013, Ms. Crayton asks for an additional

60 days to report to the bureau of prisons. The government does not consent to the motion.

        The motion will be denied.       About eleven months ago, Plaintiff pleaded guilty to

distributing cocaine base. The Court has permitted her to remain at liberty since that time.

Although sympathetic to Ms. Crayton’s medical condition, the Court has a duty to enforce its

sentences. Cf. Fed. R. Crim. P. 32(b)(1) (“The court must impose sentence without unnecessary

delay.”); Williams v. United States, 401 U.S. 667, 691 (1971) (Harlan, J., concurring) (“Surely it

is an unpleasant task to strip a man of his freedom and subject him to institutional restraints. But

this does not mean that in so doing, we should always be halting or tentative. No one, not

criminal defendants, not the judicial system, not society as a whole is benefited by [such] a

judgment.”). Medical care is available while in the custody of the bureau of prisons. Ms.

Crayton has been sentenced to 37 months imprisonment. The time has come for her to begin

serving that sentence.

       Accordingly, it is ORDERED that Defendant’s motion for an additional extension of

time to report to the bureau of prisons to begin serving her sentence (ECF No. 666) is DENIED.



                                                             s/Thomas L. Ludington
                                                              THOMAS L. LUDINGTON
                                                              United States District Judge

Dated: December 20, 2012

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                                            PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                    upon each attorney or party of record herein by electronic means or
                                first class U.S. mail on December 20, 2012.

                                                              s/Tracy A. Jacobs
                                                              TRACY A. JACOBS




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